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                                             #:61                                                 Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Alhambra Courthouse
 150 West Commonwealth Avenue, Alhambra, CA 91801

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 24NNCV04461

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                   ASSIGNED JUDGE                        DEPT             ROOM
   ✔     Sarah J. Heidel                    V




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
       09/20/2024
    on _____________________________                                         Z. Agazaryan
                                                                          By __________________________________, Deputy Clerk
                 (Date)
                                                                           Notice of Removal, Exhibit 3 Page 9 of 18
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




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LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
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                           How to Arrange Mediation in Los Angeles County

 Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

     a. The Civil Mediation Vendor Resource List
        If all parties in an active civil case agree to mediation, they may contact these organizations to
        request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
        cases).

         •   ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
             (213) 683-1600
         •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
             (833) 476-9145

         These organizations cannot accept every case and they may decline cases at their discretion.
         They may offer online mediation by video conference for cases they accept. Before contacting
         these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

         NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
         or small claims cases.

     b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
        mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
        harassment, and limited civil (collections and non-collection) cases.
        https://dcba.lacounty.gov/countywidedrp/

         Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
         should carefully review the Notice and other information they may receive about (ODR)
         requirements for their case. https://my.lacourt.org/odr/

     c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

 3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
    arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
    decision is final; there is no right to trial. In “nonbinding” arbitration, any party can request a trial
    after the arbitrator’s decision. For more information about arbitration, visit
    https://www.courts.ca.gov/programs-adr.htm

 4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
    to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
    settlement officer who does not make a decision but who instead assists the parties in evaluating
    the strengths and weaknesses of the case and in negotiating a settlement. For information about
    the Court’s MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CI0047.aspx

 Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
 For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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 For Mandatory Use
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                                                #:67
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Alhambra Courthouse
150 West Commonwealth Avenue, Alhambra, CA 91801
PLAINTIFF/PETITIONER:
Brandon Joe Williams
DEFENDANT/RESPONDENT:
UNITED STATES SMALL BUSINESS ADMINISTRATION
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             24NNCV04461

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Order to Show Cause Failure to File Proof of
Service upon each party or counsel named below by placing the document for collection and mailing so as
to cause it to be deposited in the United States mail at the courthouse in Alhambra, California, one copy of
the original filed/entered herein in a separate sealed envelope to each address as shown below with the
postage thereon fully prepaid, in accordance with standard court practices.




    Brandon Joe Williams
    PO BOX 1962
    Glendale, CA 91209




                                                    David W. Slayton, Executive Officer / Clerk of Court
Dated: 09/20/2024                                    By:   K. Carrillo
                                                           Deputy Clerk


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                                     CERTIFICATE OF MAILING
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Brandon Joe Williams, pro se
PO Box 1962, Glendale, CA 91209

                          STATE OF CALIFORNIA
       LOS ANGELES COUNTY SUPERIOR COURT – NORTH CENTRAL DISTRICT
                               ALHAMBRA

                                     CAUSE NO. 24-NNCV-04461


BRANDON JOE WILLIAMS®,
               Plaintiff,
       v.
UNITED STATES SMALL BUSINESS                    NOTICE OF SERVICE OF PROCESS
ADMINISTRATION,
               Defendant(s)




    Comes Now the Plaintiff, BRANDON JOE WILLIAMS®, by and through Brandon Joe Williams,

agent, pro se, hereby submits this Notice of Service of Process to notify the Court and all relevant

parties of the service of process effectuated upon the Defendant, UNITED STATES SMALL

BUSINESS ADMINISTRATION ("Defendant"), pursuant to the applicable provisions of the

California Code of Civil Procedure. In support of this Notice, the Plaintiff states as follows:


    1. Parties Served

       The Defendant, United States Small Business Administration, located at 409 3rd Street, SW,

       Washington, D.C. 20416, was served with the following documents:


a. Summons,

b. Complaint for Damages,

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c. Civil Case Cover Sheet,

d. Civil Case Cover Sheet Addendum and Statement of Location.


    2. Manner of Service

       The service of process was conducted in compliance with the California Code of Civil

       Procedure § 416.10, as the Defendant is a governmental entity. The process server, Marcus

       Bazemore, a duly registered process server, personally delivered the aforementioned documents

       to the Defendant’s authorized representative at their principal office at 409 3rd Street, SW,

       Washington, D.C. 20416 on September 26, 2024, at 11:59 a.m. A Proof of Service Affidavit has

       been duly executed by the process server, attached hereto as Exhibit A.


    3. Date of Service

       Service of process upon the Defendant was completed on September 26, 2024. Pursuant to

       California Code of Civil Procedure §§ 412.20 and 415.10, the Defendant is required to file a

       response to the Complaint within thirty (30) days of this date.


    4. Proof of Service

       A true and correct copy of the Proof of Service of Summons is attached hereto as Exhibit A,

       verifying that service of process was effectuated on the Defendant in accordance with

       California’s Rules of Civil Procedure.


    5. Notice to the Defendant

       The Defendant was notified that failure to respond within the time prescribed by law may result

       in a default judgment being entered against the Defendant for the relief requested in the

       Complaint for Damages.

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Dated: October 7th, 2024          Respectfully Submitted,

                                  BRANDON JOE WILLIAMS®


                                  BY: /s/ Brandon Joe Williams
                                  Brandon Joe Williams, PRO SE
                                  P.O. Box 1962
                                  Glendale, California 91209
                                  Brandon@williamsandwilliamslawfirm.com
                                  (747) 273-0799




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